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                                 UNITED STATES DISTRICT COURT
                                FOR. THE DISTRICT OF NEW JERSEY


 UNITBI) STATES OF AMERICA,                        Crim. No. 08-327 (SRC)

                    Plaintiff                      Honorable Stanley R. Chesler, U.S.D.3.
 vs.

 MICHAEL URGOLA, ET
                                                          ORDER EXTENDING TIME FOR
                                                           VOLUNTARY SURRENDER
                    Defendants.



         THIS MATTER having come before the Court on the Motion of Defendant Michael

  Urgola (Henry E. Klingeman, Esq., appearing) for an Order Extending Time for Voluntary

  Surrender for service of his sentence; the United States of America (Assistant U.S. Attorney

  Bohdan Vivitsky, appearing) having no objection; the Court having reviewed the letter from

  Defendant’s doctor, Preston Hupart, D.O.; the Court having reviewed the record of proceedings

 to date, including Defendant’s record of compliance with the terms and conditions ofrelease

 imposed by the Court; and for gouse shown,

         ITISONTFIIS            /     dayof                   20l1:
         ORDERED that Defendant shall surrerier to the custody of the Bureau of Prisons no

 earlier than May 2, 2011 or as soon thereafter as the Bureau of Prisons shall designate;
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             IT IS FURTHER ORDERED that Defendant shall surrender to the custody of the Bureau

  of Prisons at a location to be designated by the Bureau of Prisons; and

          IT IS FURTHER ORDERED that all terms and conditions of release shall continue in

  11tH force and effect until such time as Defendant surrenders to the custody of the Bureau of

  Prisons,




                                               United States District Judge



  Consent as to form and content:



                                                                /      /
 Henry E. Klingeman Esq.
 For Defendant Michael Urgola
                                                               4Lz.
                                                      A SA Bohdan Vivitsky
                                                      For the United States Attorney’s Office
